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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 Estate of Avraham Sasi, et al.

                                     Plaintiffs,

                        v.                              Case No. 24-cv-284

 Islamic Republic of Iran

                                     Defendant.



                                      [PROPOSED] ORDER

        For the reasons set forth in Plaintiffs’ Ex Parte Motion For Waiver Of Local Rule 5.1(c),

it is hereby:

        ORDERED, Plaintiffs are exempted from Local Rule 5.1(c) and may proceed without

providing their residential addresses. [Plaintiffs are hereby directed to file under seal, within

thirty (30) days, a notice with their last permanent residential addresses that will not be

available/disclosed to Defendant.]

SO ORDERED

Date:




                                                              ____________________________
                                                              United States District Judge
